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University of Vermont Students for Justice in Palestine v.
               University of Vermont, et al.

                       Case No. 2:24-cv-978




                        Exhibit A

                                to

 Foundation for Individual Rights
and Expression’s Motion for Leave
   to File Brief Amicus Curiae
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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF VERMONT


UNIVERISTY OF VERMONT                              Case Number: 2:24-cv-978
STUDENTS FOR JUSTICE IN
PALESTINE,                                        Hon. William K. Sessions III

                 Plaintiff,
                                              [PROPOSED] BRIEF OF AMICUS
                     v.                       CURIAE THE FOUNDATION FOR
                                                 INDIVIDUAL RIGHTS AND
THE UNIVERSITY OF VERMONT                      EXPRESSION IN SUPPORT OF
AND STATE AGRICULTURAL                               NEITHER PARTY
COLLEGE, et al.,

                Defendants.

      The Foundation for Individual Rights and Expression writes in support of

neither party to apprise the Court of longstanding precedent holding the First

Amendment fully protects students’ rights of assembly and expression on public

university campuses, even when some find the student expression offensive or

disagreeable.

                          INTEREST OF AMICUS CURIAE

      The Foundation for Individual Rights and Expression (“FIRE”) is a

nonpartisan nonprofit organization dedicated to promoting and protecting free

expression, particularly at our nation’s institutions of higher education. Since 1999,

FIRE has successfully defended the expressive rights and academic freedom of

thousands of students and faculty members across the United States and the

ideological spectrum. FIRE defends these fundamental rights through public

commentary and advocacy, research, litigation, and participation as amicus curiae in
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cases that implicate student and faculty rights, like the one now before this Court.

See, e.g., Brief of Foundation for Individual Rights and Expression, American Civil

Liberties Union, et al. as Amici Curiae Supporting Plaintiff, Univ. of Md. Students

for Just. in Palestine v. Bd. of Regents of the Univ. Sys. of Md., (D. Md. September 25,

2024) (No. 24-cv-2683-PJM) 2024 WL 4361863; Brief of Foundation for Individual

Rights and Expression as Amicus Curiae In Support of Neither Party, Kestenbaum v.

President and Fellows of Harvard Coll., (D. Mass. July 16, 2024) (No. 1:24-cv-10092-

RGS) 2024 WL 3658793. FIRE believes students can best achieve success in our

democracy only if the law remains unequivocally on the side of robust campus free

speech rights.

                                        INTRODUCTION

        More than a half-century ago, the Supreme Court declared that “state colleges

and universities are not enclaves immune from the sweep of the First Amendment.”

Healy v. James, 408 U.S. 169, 180 (1972). The First Amendment binds public

institutions like the University of Vermont as government actors, and public

university students retain full First Amendment rights to free expression and

freedom of association. Id. Accordingly, a public university’s actions—including the

imposition of disciplinary sanctions,1 the recognition and funding of student

organizations,2 and the maintenance of policies implicating student and faculty

expression3—must comply with the First Amendment.



1 Papish v. Bd. of Curators of the Univ. of Mo., 410 U.S. 667, 667–68 (1973).
2 Bd. of Regents of the Univ. of Wis. Sys. v. Southworth, 529 U.S. 217, 221 (2000).
3 See, e.g., Dambrot v. Central Mich. Univ., 55 F.3d 1177 (6th Cir. 1995).




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       To be sure, public university administrators may discipline students and

organizations that engage in violence or violate lawful school policies. They may also

institute reasonable time, place, and manner restrictions on expressive activity.4 But

any such restrictions must be content and viewpoint neutral, narrowly tailored to

serve a significant government interest, and must leave open ample alternative

channels for communication.5 Further, “[f]or the University, by regulation, to cast

disapproval on particular viewpoints of its students risks the suppression of free

speech and creative inquiry in one of the vital centers for the nation’s intellectual life,

its college and university campuses.” Rosenberger v. Rector & Visitors of the Univ. of

Va., 515 U.S. 819, 836 (1995). Thus, the First Amendment flatly bars public

universities from punishing students or student organizations for their organization’s

expressed opinion or perspective. Id.

       Still, some institutions of higher learning fail to heed the Supreme Court’s

clear directives. That is why FIRE has filed lawsuits on behalf of, for example, student

organizations stopped from promoting single-payer healthcare,6 prevented from

using a university logo for marijuana legalization advocacy,7 or banned from hanging

pro-life flyers on college bulletin boards.8 The viewpoints expressed by student

organizations at public universities cannot justify the suppression of their speech.


4 Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989); Univ. of Cincinnati Chapter of Young Ams.

For Liberty v. Williams, No. 1:12-cv-155, 2012 WL 2160969, at *20 (S.D. Ohio June 12, 2012); Pro-
Life Cougars v. Univ. of Hous., 259 F. Supp. 2d 575, 581 (S.D. Tex. 2003).
5 Clark v. Cmty. for Creative Non-Violence, 468 U.S. 288, 293 (1984).
6 Complaint, Si v. Abuhamad, No. 2:21-cv-00467, (E.D. Va. Aug. 17, 2021), ECF No. 1 (available at

https://www.thefire.org/research-learn/si-v-evms-complaint).
7 See Gerlich v. Leath, 861 F.3d 697 (8th Cir. 2017) (en banc) (affirming permanent injunction).
8 See Flores v. Bennett, No. 22-16762, 2023 WL 4946605 (9th Cir. July 17, 2023 (affirming

preliminary injunction).


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       Over the past year, the Israeli-Palestinian conflict has fueled censorship of

campus speakers on both sides. Across the nation, state government officials,

including public college and university administrators, routinely suppress, punish,

and ban students and student organizations just for speaking about the conflict. In

September 2024, Maryland Governor Wes Moore banned all “expressive events” from

University of Maryland campuses on the anniversary of Hamas’s October 7th attacks

on Israel.9 Florida Governor Ron DeSantis demanded the derecognition of all

Students for Justice in Palestine (SJP) chapters from University of Florida campuses.

Texas Governor Greg Abbot called for automatic discipline of University of Texas SJP

and Palestinian Solidarity chapters. The University of Southern California forced a

professor to teach remotely for his pro-Israel comments to pro-Palestine activists.

Many more public and private colleges and universities have taken similar steps to

stop both student and faculty organizations and individual students and faculty from

expressing a multitude of views on the conflict.

       Universities have sought to justify their restrictions of student and faculty

speech on the conflict based on the discomfort of others hearing it. But the university

campus is “peculiarly the ‘marketplace of ideas,’” Healy, 408 U.S. at 180, and

“constitutional rights may not be denied simply because of hostility to their assertion

or exercise.” Watson v. City of Memphis, 373 U.S. 526, 535 (1963). To fulfill their

educational mission and their unique role in our free society, universities must foster

a “diversity of views” and “intellectual advancement” through “discord and dissent.”


9 The U.S. District Court for the District of Maryland granted a preliminary injunction against the

ban shortly thereafter. Univ. of Md. Students for Just. in Palestine, 2024 WL 4361863, at *13–14.


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Rodriguez v. Maricopa Cnty. Cmty. Coll. Dist., 605 F.3d 703, 708 (9th Cir. 2010)

(citing Keyishian v. Bd. of Regents, 385 U.S. 589, 603 (1967)).

      The case now before this Court implicates the rights of student organizations

to express their opinions free from punishment, derecognition, and on-campus speech

bans. Amicus FIRE takes no position regarding the extent of University of Vermont

Students for Justice in Palestine’s (UVM SJP’s) firsthand involvement in alleged

policy violations; whether UVM SJP violated any particular policy; or whether UVM

has previously refused to similarly punish other student organizations for similar

events. FIRE therefore does not write to advocate for any party. However, FIRE

respectfully asks the Court to affirm the longstanding First Amendment protection

afforded to student organizations to express viewpoints on a public university

campus, free from censorship or coercion, regardless of any “uncomfortable” feelings

others experience as a result of organizations’ protected speech.

                                    ARGUMENT

I.    FIRE’s Experience Defending Free Speech on Campuses Nationwide
      Demonstrates that Public Universities Are Silencing Protected
      Speech on the Israeli-Palestinian Conflict.

      In the year since Hamas’s October 7, 2023 attacks on Israel, colleges and

universities have censored students, student groups, and faculty across the nation

and on all sides of the political debate surrounding the conflict. FIRE has consistently

defended the expressive rights of those students and faculty. For example, FIRE

fought for the expressive rights of student organizations at the University of

Wisconsin-Madison who were suspended for their pro-Palestinian views. Letter from




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FIRE      to   UW-Madison          President      Jennifer     Mnookin,       May      16,    2024,

https://www.thefire.org/research-learn/fire-letter-university-wisconsin-madison-

may-16-2024. FIRE likewise defended a pro-Israel professor’s free speech rights when

his university punished him for speech critical of pro-Palestinian protestors. Letter

from FIRE to University of Southern California President Carol Folt, Nov. 20, 2023,

https://www.thefire.org/research-learn/fire-letter-university-southern-california-

november-20-2023.

        When the University of Texas at Austin—at the direction of Governor Greg

Abbott—employed riot police to forcibly disperse and arrest peaceful pro-Palestinian

protestors, FIRE again stepped in to defend their First Amendment rights.10 When

Hunter College cited unspecified concerns about safety to cancel a screening of the

film “Israelism,” FIRE reminded the college of its First Amendment obligation to

allow even controversial expressive events.11 FIRE similarly wrote to the University

of Vermont last October when it thwarted a planned in-person lecture by Palestinian

writer and poet Mohammed el-Kurd, moving it to an online-only format based on

unspecified security concerns.12

       Student groups in particular have faced ongoing censorship. For example,

when Florida Governor Ron DeSantis ordered the University of Florida (UF) to

automatically derecognize all UF SJP student chapters, FIRE called on the UF



10 Letter from FIRE to Jay Hartzell, University of Texas-Austin President, Apr. 25, 2024,

https://www.thefire.org/research-learn/fire-letter-university-texas-austin-april-25-2024-0.
11 Letter from FIRE to Ann Kirschner, President of Hunter College, Jan. 3, 2024,

https://www.thefire.org/research-learn/fire-letter-hunter-college-january-3-2024.
12 Letter from FIRE to Suresh Garimella, President of University of Vermont, Oct. 25, 2023,

https://www.thefire.org/research-learn/fire-letter-university-vermont-october-25-2023.


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president to refuse to comply, as demanded by clearly established law.13 Similarly,

the Ohio State University suspended the campus’s Central Ohio Revolutionary

Socialists student group, alleging the student group supported terrorism because it

used a logo associated with the Popular Front for the Liberation of Palestine.14 The

university lifted the suspension after FIRE explained the group’s use of the logo,

absent more, constituted protected speech.15

       Pro-Palestinian groups aren’t alone in facing censorship post-October 7th. The

City University of New York canceled Hillel-sponsored Israeli Memorial Day and

Independence Day events at Baruch College and Kingsborough Community College.

FIRE, in response, demanded CUNY allow future expressive events to proceed.16

       In these and other matters, FIRE has called on public institutions of higher

learning to adhere to the long-settled First Amendment holdings that require the

protection of student and faculty expression. As the Court considers this case, amicus

FIRE asks that it recognize and reaffirm these core First Amendment principles and

precedents to protect student organizations as speakers, both now and in the future,

from punishment for controversial yet fully protected expression.




13 Letter from FIRE to Ben Sasse, University of Florida President, Oct. 23, 2023,

https://www.thefire.org/research-learn/fire-letter-university-florida-october-25-2023.
14 Letter from FIRE to Ted Carter, President of The Ohio State University, Jan. 29, 2024,

https://www.thefire.org/research-learn/fire-letter-ohio-state-university-january-29-2024.
15 Ohio State University: Student Group Suspended After Social Media Post Accused It of Supporting

Terrorism, FIRE, https://www.thefire.org/cases/ohio-state-university-student-group-suspended-after-
social-media-post-accused-it-supporting (last visited Oct. 17, 2024).
16 Letter from FIRE to Félix V. Matos Rodríguez, Chancellor of CUNY, June 7, 2024,

https://www.thefire.org/research-learn/fire-letter-cuny-chancellor-june-7-2024.


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II.     The First Amendment Applies in Full for Students on Public
        Campuses Like the University of Vermont.

        The expressive freedoms of students and student organizations on campus are

commensurate with those of the public at large.17 The Supreme Court has identified

free expression on college campuses as a “special concern” of the First Amendment,

recognizing the essential value public colleges and universities have in our

democratic      society.    The     First    Amendment’s         protection     against   viewpoint

discrimination, an “egregious” constitutional violation,18 is therefore of equal concern

on campus, as off. The fact some student speech may offend some who hear it does

not alter the First Amendment’s protection against censorship.

        A.      More than fifty years of Supreme Court precedent makes clear
                the First Amendment protects student expression on public
                campuses.

        The First Amendment requires public universities to facilitate “wide exposure

to that robust exchange of ideas which discovers truth out of a multitude of tongues,

[rather] than through any kind of authoritative selection.” Keyishian, 385 U.S. at 603

(internal quotations omitted). Without the “free[dom] to inquire, to study and to

evaluate, to gain new maturity and understanding” on campus, “our civilization will

stagnate and die.” Sweezy v. New Hampshire, 354 U.S. 234, 250 (1957). Therefore,

“the mere dissemination of ideas—no matter how offensive to good taste—on a state

university campus may not be shut off in the name alone of ‘conventions of decency.’”

Papish v. Bd. of Curators of the Univ. of Mo., 410 U.S. 667, 670 (1973).



17 See Widmar v. Vincent, 454 U.S. 263, 280 (1981).
18 See Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819, 836 (1995).




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        In Healy, the Supreme Court affirmed these principles apply to student

organizations. There, a public college president violated the First Amendment when

he refused to recognize a chapter of Students for Democratic Society (SDS) based on

the chapter’s ties to the national SDS organization, arguing the request came on the

heels     of   a   “climate    of   unrest”     replete   with     “widespread     civil

disobedience . . . accompanied by the seizure of buildings, vandalism, and arson,”

causing some “colleges [to] shut down altogether.” Healy, 408 U.S. at 171–172, 188.

The Court noted, however, that until a group actually violated lawful policies, the

“denial of official recognition, without justification, to college organizations burdens

or abridges” First Amendment rights, as “[t]he vigilant protection of constitutional

freedoms is nowhere more vital than in the community of American schools.” Healy,

408 U.S. at 180 (quoting Shelton v. Tucker, 364 U.S. 479, 487 (1960)).

        Although UVM’s stated reasons for the months-long “interim” ban on

UVM SJP include allegations of policy violations, they also include “encouraging”

policy violations and disruption of operations based on alleged discomfort (ECF No.

1-2, ECF No. 8, at 6–7, 11.) FIRE takes no position on the merits of the allegations

against the Plaintiff here. But to the extent the allegations involve protected

expression, whatever its ultimate holding, this Court should reaffirm that viewpoint

discrimination on a public university campus violates the First Amendment.

        B.     The First Amendment prohibits viewpoint discrimination
               against students and student organizations.

        The First Amendment protects students’ expressive rights on public campuses

and bars public universities from punishing or restricting student organizations



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because it disapproves of their message. See, e.g., Iota Xi Chapter of Sigma Chi

Fraternity v. George Mason Univ., 993 F.2d 386 (4th Cir. 1993) (holding a university’s

discipline of students for holding a subjectively offensive event violates the students’

First Amendment rights). Targeting “particular views taken by speakers on a subject”

constitutes “an egregious form” of censorship. Rosenberger, 515 U.S. at 829. The state

cannot “single out a particular idea for suppression because it is dangerous or

disfavored.” Wandering Dago, Inc. v. Destito, 879 F.3d 20, 37 (2d Cir. 2018) (quoting

Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 541 (2001)) (alterations omitted)).

      For a university “to cast disapproval on particular viewpoints” on campus

“risks the suppression of free speech and creative inquiry in one of the vital centers

for the Nation’s intellectual life.” Rosenberger, 515 U.S. at 836. Authorities “must

abstain from regulating speech when the specific motivating ideology or the opinion

or perspective of the speaker is the rationale for the restriction.” Id. at 829. And

authorities may only “regulate speech so long as the restriction is reasonable and

viewpoint neutral.” Koala v. Khosla, 931 F.3d 887, 900 (9th Cir. 2019).

       The prohibition against viewpoint discrimination protects student groups

with unpopular views across the political spectrum. It protected the rights of LGBTQ

student organizations in New Hampshire and Virginia to host social functions and be

recognized as official student groups, respectively. Gay Students Org. of Univ. of N.H.

v. Bonner, 509 F.2d 652, 661–62 (1st Cir. 1974); Gay Alliance of Students v. Matthews,

544 F.2d 162 (4th Cir. 1976). It likewise protected the rights of a conservative student




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magazine that lost funding after publishing a story mocking “trigger warnings” and

“safe spaces.” Koala, 931 F.3d at 892.

       UVM SJP’s verified complaint alleges that the group’s punishment was due in

part to its view and advocating for the violation of particular UVM policies—itself a

protected viewpoint.19 Because of the longstanding and outright ban on viewpoint

discrimination, this Court must, therefore, carefully assess whether opinion-based

punishment is at play in this case.

       C.      Emotional discomfort cannot justify silencing student speech on
               public campuses.

       The Supreme Court has repeatedly, consistently, and clearly held that the

First Amendment protects campus expression others find deeply offensive. In Papish,

the Supreme Court held the First Amendment protected distribution of an

underground        student       newspaper        on     campus       containing       a    “political

cartoon . . . depicting policemen raping the Statute of Liberty and the goddess of

Justice.” 410 U.S. 667–68. The burning of the American flag in protest is similarly

protected, despite the palpable offense the act caused many. Texas v. Johnson, 491

U.S. 397, 414 (1989). And in Matal v. Tam, the Court held the First Amendment

protects the right of the Asian-American rock band, “The Slants,” to trademark their

name despite that use of a racial slur because it is “the proudest boast of our free

speech jurisprudence . . . that we protect the freedom to express the thought that we




19 Speech advocating lawbreaking can only be punished if it is directed to incite or produce imminent

lawless action and is “likely to incite or produce such action” because advocacy “is not the same as
preparing a group for violent action and steeling it to such action.” Brandenburg v. Ohio, 395 U.S.
444, 447 (1969) (internal quotation marks omitted).


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hate.” 582 U.S. 218, 246 (2017). In the words of Justice Alito: “Giving offense is a

viewpoint.” Id. at 243. The First Amendment’s protection of offensive speech is of even

higher value on public university campuses. In fact, offensive speech is in line with

public universities raison d’etre: “to provide that atmosphere which is most conducive

to speculation, experiment and creation,” Sweezy, 354 U.S. at 263 (1957)

(Frankfurter, J., concurring).

      The University of Maryland just learned this lesson. On October 1, 2024, U.S.

District Court Judge Peter Messitte preliminarily enjoined the University of

Maryland from upholding a ban on “all student-sponsored events [planned for

October 7, 2024] due to an ‘overwhelming’ number of complaints.” The court enjoined

the ban because, it said, “[t]his is a matter of law, not wounded feelings. Free speech

as guaranteed by the First Amendment may be the most important law this country

has. In many ways, all other basic freedoms . . . depend upon it.” Univ. of Md.

Students for Just. in Palestine, 2024 WL 4361863, at *9. That is one reason why, even

when words cause pain, “we cannot react to that pain by punishing the speaker. As a

Nation we have chosen a different course—to protect even hurtful speech on public

issues to ensure that we do not stifle public debate.” Snyder v. Phelps, 562 U.S. 443,

461 (2011).

      To hold otherwise would permit a “heckler’s veto.” When the government

elevates the concerns of the listener over the rights of the speaker, “[t]he speech is

targeted, after all, based on the government’s disapproval of the speaker’s choice of

message.” Matal, 582 U.S. at 250 (Kennedy, J., concurring in part). Even where




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listeners engage in and threaten violence against a speaker for their words, the First

Amendment prohibits punishing or restricting the speaker. Meinecke v. City of

Seattle, 99 F.4th 514, 518–519 (9th Cir. 2024). Courts recognize a “heckler’s veto” is

simply viewpoint discrimination by another name.

      FIRE asks this Court to recognize that on a public university campus,

emotional discomfort caused by a political message or peaceful protest cannot support

restricting speakers’ ability to freely express their message.

                                   CONCLUSION

      In deciding this case, FIRE urges this Court to affirm the First Amendment’s

protections of students’ and student organizations’ speech on public university

campuses.


Dated: October 18, 2024

Respectfully submitted,

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